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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                       MEMORANDUM DECISION AND
                                                         ORDER GRANTING DEFENDANT’S
                                                         MOTION FOR EXTENSION OF
                                                         TIME


                vs.


 DAVID J. ORR,                                           Case No. 2:03-CR-265
        Defendant,




       This matter is before the Court on Defendant David J. Orr’s Request for Extension of

Time to Respond to Government’s Motion’s Regarding Restitution. Defendant requests an

extension until he is released from incarceration. Having received no opposition to Defendant’s

Motion and good cause appearing, the Court hereby GRANTS Defendant’s Motion (Docket No.

229). However, the Court will not grant an extension until Defendant is released. Rather,

Defendant shall have until March 31, 2008, to file his written response regarding restitution. The

government’s reply is due thirty (30) days thereafter.

       SO ORDERED.

       DATED January 25, 2008

                                              _____________________________________
                                              TED STEWART
                                              United States District Judge
